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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                              TAMPA DIVISION


   JERRY CLEMENTI,

         Plaintiff,

   v.                                              CASE NO. 8:15-cv-1802-T-23MAP

   CAPITAL ONE BANK, N.A.,

        Defendant.
   ____________________________________/


                                        ORDER

        In accord with the parties’ stipulation (Doc. 23), this action is DISMISSED

   WITH PREJUDICE.

        ORDERED in Tampa, Florida, on February 11, 2016.
